
Hope Founders, Petitioner-Landlord-Respondent,
againstGweneth Williams, Respondent-Tenant-Appellant.



Tenant appeals from an order of the Civil Court of the City of New York, New York County (Phyllis K. Saxe, J.), dated February 5, 2015, which denied her motion to vacate a default final judgment of possession in a nonpayment summary proceeding.




Per Curiam.
Order (Phyllis K. Saxe, J.), dated February 5, 2015, affirmed, without costs.
We find no abuse of discretion in the denial of tenant's motion to vacate the default possessory judgment issued against her in this nonpayment summary proceeding. Even assuming that tenant set forth a reasonable excuse for her failure to appear on the stipulated (October 14, 2014) adjournment date, she failed to show any meritorious defense to her failure to pay her portion of the rent arrears over an extended period. Moreover, in the absence of good cause, the judgment and warrant should not be vacated (see New York City Hous. Auth. v Torres, 61 AD2d 681 [1978]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.


I concurI concurI concur
Decision Date: May 03, 2016










